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                                                            FORM 1 VOLUNTARY PETITION                                                                               AB7971

                               United States Bankruptcy Court                                                                  VOLUNTARY
                                Eastern District of New York                                                                    PETITION
IN RE (Name of debtor-if individual, enter Last, First, Middle)                      NAME OF JOINT DEBTOR (Spouse) (Last, First, Middle)
  Salazar, Tyrone                                                                       Salazar, Myrna
ALL OTHER NAMES used by debtor in the last 6 years                                   ALL OTHER NAMES used by joint debtor in the last 6 years
(Include married, maiden and trade names)                                            (Include married, maiden and trade names)
                                                                                        Myrna Serrano


Last four digits of SOC. SEC./TAX I.D. NO. (If more than one, state all)             Last four digits of SOC. SEC./TAX I.D. NO. (If more than one, state all)
  XXX-XX-5676                                                                           XXX-XX-8060
STREET ADDRESS OF DEBTOR (No. and street, city, state, and zip code)                 STREET ADDRESS OF JOINT DEBTOR (No. and street, city, state, and zip code)
  1521 Jefferson Avenue, 1L                                                             1521 Jefferson Avenue, 1L
  Brooklyn, New York 11237                                                              Brooklyn, New York 11237
                                            COUNTY OF RESIDENCE OR                                                                 COUNTY OF RESIDENCE OR
                                            PRINCIPAL PLACE OF BUSINESS                                                            PRINCIPAL PLACE OF BUSINESS
                                            Kings                                                                                   Kings
MAILING ADDRESS OF DEBTOR (If different from street address)                         MAILING ADDRESS OF JOINT DEBTOR (If different from street address)




LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR                                                                    VENUE (Check one box)
(If different from address listed above)                                             x Debtor has been domiciled or has had a residence, principal place of business,
                                                                                       or principal assets in this District for 180 days immediately preceding the date of
                                                                                       this petition or for a longer part of such 180 days than in any other District.
                                                                                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or
                                                                                       partnership pending in this District.
                                                  INFORMATION REGARDING DEBTOR (Check applicable boxes)
TYPE OF DEBTOR                                                                   CHAPTER OR SECTION OF BANKRUPTCY CODE UNDER WHICH THE PETITION
  Individual                       Corporation Publicly Held                     IS FILED (Check one box)
x Joint (H&W)                      Corporation Not Publicly Held                  x Chapter 7              Chapter 11              Chapter 13
  Partnership                      Municipality                                     Chapter 9              Chapter 12              § 304 - Case Ancillary to
                                                                                                                                   Foreign Proceeding
  Other _________________________________________________
                                                                                 FILING FEE (Check one box)
NATURE OF DEBT                                                                    x Filing fee attached.
x Non-Business Consumer                     Business - Complete A&B Below           Filing fee to be paid in installments. (Applicable to individuals only.) Must attach
                                                                                    signed application for the court’s consideration certifying that the debtor is
A. TYPE OF BUSINESS       (check one box)                                           unable to pay fee except in installments. Rule 1006(b). see Official Form No. 3
   Farming                 Transportation             Commodity Broker
   Professional            Manufacturing/             Construction               NAME AND ADDRESS OF LAW FIRM OR ATTORNEY
   Retail/Wholesale        Mining                     Real Estate                Allan R. Bloomfield, Esq.
   Railroad                Stockbroker                Other Business             118-21 Queens Blvd., Suite 509
B. BRIEFLY DESCRIBE NATURE OF BUSINESS                                           Forest Hills, New York 11375
                                                                                 Telephone No. (718) 544-0500
                                                                                 NAME(S) OF ATTORNEY(S) DESIGNATED TO REPRESENT THE DEBTOR


                                                                                    Debtor is not represented by an attorney
                  STATISTICAL ADMINISTRATIVE INFORMATION (28 U.S.C. § 604)                                               THIS SPACE FOR COURT USE ONLY
                           (Estimates only)(Check applicable boxes)
  Debtor estimates that funds will be available for distribution to unsecured creditors.
x Debtor estimates that after any exempt property is excluded and administrative expenses
  paid, there will be no funds available for distribtuion to unsecured creditors.
ESTIMATED NUMBER OF CREDITORS
 1-15     16-49     50-99    100-199                      200-999           1000-over
   x
ESTIMATED ASSETS (in thousands of dollars)
Under 50  50-99      100-499       500-999               1000-9999         10,000-99,000      100,000-over
  x
ESTIMATED LIABILITIES (in thousands of dollars)
Under 50  50-99       100-499       500-999              1000-9999         10,000-99,000      100,000-over
             x
EST. NO. OF EMPLOYEES - CH. 11 & 12 ONLY
  0         1-19     20-99       100-999                 1000-over

EST. NO. OF EQUITY SECURITY HOLDERS - CH. 11 & 12 ONLY
  0         1-19      20-99    100-499       500-over
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                         Tyrone Salazar & Myrna Salazar
Name of Debtor__________________________________________________________________ Case No._________________________________________________


                                                                   FILING OF PLAN
 For Chapter 9, 11, 12 and 13 cases only. Check appropriate box.
   A copy of debtor’s proposed plan dated _________________________________      Debtor intends to file a plan within the time allowed by statute, rule, or
   is attached.                                                                order of the court.

                                  PRIOR BANKRUPTCY CASE FILED WITHIN LAST 6 YEARS (If more than one, attach additional sheet)
 Location Where Filed                                           Case Number                                             Date Filed

   None
           PENDING BANKRUPTCY CASE FILED BY ANY SPOUSE, PARTNER, OR AFFILIATE OF THIS DEBTOR (If more than one, attach additional sheet)
 Name of Debtor                                                 Case Number                                             Date

   None
 Relationship                                                   District                                                Judge



                                                                          REQUEST FOR RELIEF
 Debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                                                                 SIGNATURES
                                                                                   ATTORNEY



 X      /s/ Allan R. Bloomfield
 _______________________________________________________________ AB 7971             Date     January 19, 2004
 Signature

                              INDIVIDUAL/JOINT DEBTOR(S)                                                 CORPORATE OR PARTNERSHIP DEBTOR
      I declare under penalty of perjury that the information provided in this           I declare under penalty of perjury that the information provided in this petition
 petition is true and correct.                                                         petition is true and correct, and that the filing of this petition on behalf of the
                                                                                       debtor has been authorized.


 X      /s/ Tyrone Salazar
 _______________________________________________________________                       X
                                                                                       __________________________________________________________________
 Signature of Debtor                                                                   Signature of Authorized Individual
 Date   January 19, 2004                                                               __________________________________________________________________
                                                                                       Print or Type Name of Authorized Individual
 X      /s/ Myrna Salazar
 _______________________________________________________________                       __________________________________________________________________
 Signature of Joint Debtor                                                             Title of Individual Authorized by Debtor to File this Petition
 Date   January 19, 2004                                                               Date
                                     EXHIBIT "A" (To be completed if debtor is a corporation requesting relief under chapter 11.)
   Exhibit "A" is attached and made a part of this petition.

                      TO BE COMPLETED BY INDIVIDUAL CHAPTER 7 DEBTOR WITH PRIMARILY CONSUMER DEBTS (See P.L. 98-353 §322)
      I am aware that I may proceed under chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief available under such chapter, and choose
 to proceed under chapter 7 of such title.
     If I am represented by an attorney Exhibit B has been completed.




 X      /s/ Tyrone Salazar
 _______________________________________________________________                     Date     January 19, 2004
 Signature of Debtor




 X      /s/ Myrna Salazar
 _______________________________________________________________                     Date     January 19, 2004
 Signature of Joint Debtor

                               EXHIBIT "B" (To be completed by attorney for individual chapter 7 debtor(s) with primarily consumer debts.)

     I, the attorney for the debtor(s) named in the foregoing petition, declare that I have informed the debtor(s) that (he, she, or they) may proceed under chapter
 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under such chapter.




 X      /s/ Allan R. Bloomfield
 _______________________________________________________________                     Date     January 19, 2004
 Signature of Attorney
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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK

                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)


DEBTOR(S):                   Tyrone Salazar & Myrna Salazar                                                  CASE NO.: _______

        Pursuant to Local Bankruptcy Rule 10 73-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within six years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii)
are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. 510 1(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]

X NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

  THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: _________________ JUDGE: _____________________ DISTRICT/DIVISION: ______________________________

CASE STILL PENDING (Y/N): _______ [If closed] Date of closing: ______________

CURRENT STATUS OF RELATED CASE: _____________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): ______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: ________________________________________________________________________

___________________________________________________________________________________________________________


2. CASE NO.: _______________ JUDGE: _____________________ DISTRICT/DIVISION: _______________________

CASE STILL PENDING (Y/N): _______ [If closed] Date of closing: ______________

CURRENT STATUS OF RELATED CASE: _____________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): ______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: ________________________________________________________________________

___________________________________________________________________________________________________________


                                                              (OVER)

DISCLOSURE OF RELATED CASES (cont’d)
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3. CASE NO.: _______________ JUDGE: _____________________ DISTRICT/DIVISION: _______________________

CASE STILL PENDING (Y/N): _______ [If closed] Date of closing: ______________

CURRENT STATUS OF RELATED CASE: _____________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): ______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: ________________________________________________________________________

___________________________________________________________________________________________________________



NOTE: Pursuant to 11 U.S.C. S 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may
not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time,
except as indicated elsewhere on this form.

  /s/ Allan R. Bloomfield
 ________________________________________
 Signature of Debtor’s Attorney                                         ________________________________________
 Allan R. Bloomfield                                                    Signature of Pro Se Debtor/Petitioner

                                                                        ________________________________________
                                                                        Mailing Address of Debtor/Petitioner

                                                                        ________________________________________
                                                                        City, State, Zip Code

                                                                        ________________________________________
                                                                        Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or
any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee
or the dismissal of the case with prejudice.


NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
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UNITED STATES BANKRUPTCY COURT                                                   EASTERN DISTRICT OF NEW YORK


In re:   Tyrone Salazar & Myrna Salazar,                                                  Debtor(s)     Case No.                                     (if known)




                                                     SUMMARY OF SCHEDULES
   Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I and
J in the boxes provided. Ad the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts from Schedules D,
E and F to determine the total amount of the debtor’s liabilites.


                                   _________________________________
                                  | Attached (Yes No) Number of sheets |                               Amounts Scheduled

                Name of Schedule                                             Assets                         Liabilities                     Other

   A - Real Property                                y      1                          $0.00
   B - Personal Property                            y      1               $17,270.00
   C - Property Claimed as Exempt                   y      1
   D - Creditors holding secured claims             y      1                                              $18,011.00
   E - Creditors Holding Unsecured                  y      1                                                         $0.00
       Priority Claims

   F - Creditors Holding Unsecured                  y      1                                              $62,865.86
       Nonpriority Claims

   G - Executory Contracts and                      y      1
       Unexpired Leases

   H - Codebtors                                    y      1
   I - Current Income of                            y      1                                                                                   $4,360
       Individual Debtor(s)

   J - Current Expenditures of                      y      1                                                                                   $4,633
       Individual Debtor(s)

              Total Number of Sheets of All Schedules     10
                                                  Total Assets             $17,270.00
                                                                                Total Liabilities         $80,876.86
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In re:   Tyrone Salazar & Myrna Salazar,                                       Debtor(s)       Case No.                           (if known)



     SCHEDULE A - REAL PROPERTY
                                                                                          CURRENT VALUE
                                                                                  H      VALUE OF DEBTOR’S
     DESCRIPTION AND LOCATION OF PROPERTY                NATURE OF DEBTOR’S       W    INTEREST IN PROPERTY        AMOUNT OF
                                                        INTEREST IN PROPERTY      J     WITHOUT DEDUCTING           SECURED
                                                                                  C     ANY SECURED CLAIM            CLAIM
                                                                                          OR EXEMPTION


               None




                                                                                                              (Report also on Summary
                                                                           Total ->        $                  of Schedules.)



     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                  CURRENT MARKET
                                              N                                                           H      VALUE OF DEBTOR’S
                                              O       DESCRIPTION AND LOCATION OF PROPERTY                W    INTEREST IN PROPERTY
     TYPE OF PROPERTY                         N                                                           J     WITHOUT DEDUCTING
                                              E                                                           C     ANY SECURED CLAIM
                                                                                                                   OR EXEMPTION
1. Cash on hand
2. Checking, savings or other financial           Citibank,    N.A.                   checking            w            $200.00
accounts, certificates of deposit, or
shares in banks, savings and loan,                New York,    New York               savings             w             $10.00
thrift, building and loan, and home-              Citibank,    N.A.                   checking            h            $500.00
stead associations, or credit unions,
brokerage houses, or cooperatives.                New York,    New York               savings             h             $10.00
3. Security deposits with public utilities,       Deposit with landlord                                   j            $750.00
telephone companies, landlords, and
others.
4. Household goods and furnishings                Household goods                                                  $2,000.00
including audio, video and computer
equipment.
5. Books; pictures and other art              x
objects; antiques; stamp, coin, record,
tape, compact disc, and other
collections or collectibles.
6. Wearing apparel.                               Wearing apparel                                                  $1,500.00
7. Furs and jewelry.                          x
8. Firearms and sports, photographic,         x
and other hobby equipment.
9. Interests in insurance policies.           x
Name insurance company of each
policy and itemize surrender or refund
value of each.
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In re:   Tyrone Salazar & Myrna Salazar,                                              Debtor(s)    Case No.                             (if known)

                                                                                                                            CURRENT MARKET
                                                   N                                                                H      VALUE OF DEBTOR’S
                                                   O    DESCRIPTION AND LOCATION OF PROPERTY                        W    INTEREST IN PROPERTY
     TYPE OF PROPERTY                              N                                                                J     WITHOUT DEDUCTING
                                                   E                                                                C     ANY SECURED CLAIM
                                                                                                                             OR EXEMPTION

10. Annuities. Itemize and name each issuer.       x
11. Interests in IRA, ERISA, Keogh, or other           Retirement benefits through employment w unknown
pension or profit sharing plans. Itemize.
12. Stock and interests in incorporated and        x
unincorporated businesses. Itemize.
13. Interest in partnerships or joint ventures.    x
Itemize.
14. Government and corporate bonds and             x
other negotiable and nonnegotiable
instruments.
15. Accounts receivable.                           x
16. Alimony, maintenance, support, and             x
property settlement to which the debtor is or
may be entitled. Give particulars.
17. Other liquidated debts owing debtor            x
including tax refunds. Give particulars.
18. Equitable or future interests, life estate,    x
and rights or powers exercisable for the
benefit of the debtor other than those listed in
Schedule of Real Property.
19. Contingent and noncontingent interests in      x
estate of a decedent, death benefit plan, life
insurance policy, or trust.
20. Other contingent and unliquidated claims       x
of every nature, including tax refunds,
counterclaims of the debtor, and rights to
setoff claims. Give estimated value of each.
21. Patents, copyrights, and other intellectual    x
property. Give particulars.
22. Licenses, franchises, and other general        x
intangibles. Give particulars.
23. Automobiles, trucks, trailers, and other           1999 Mercury                                                 h      $7,400.00
vehicles and accessories.
                                                       1999 Ford                                                    j      $4,900.00
24. Boats, motors, and accessories.                x
25. Aircraft and accessories.                      x
26. Office     equipment,    furnishings,   and    x
supplies.
27. Machinery, fixtures, equipment, and            x
supplies used in business.
28. Inventory.                                     x
29. Animals.                                       x
30. Crops - growing or harvested. Give             x
particulars.
31. Farming equipment and implements.              x
32. Farm supplies, chemicals, and feed.            x
33. Other personal property of any kind not        x
already listed. Itemize.


         (Include amounts from any continuation sheets attached. Report total also on Summary or Schedules)   Total ->    $17,270.00
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In re:   Tyrone Salazar & Myrna Salazar,                                                             Debtor(s)      Case No.                           (if known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under (Check one box)

     11 U.S.C. § 522(b)(1): Exemptions provided in 11 U.S.C. § 522(d). Note: These exemptions are available only in certain states.

X    11 U.S.C. § 522(b)(2): Exemptions provided under applicable nonbankruptcy federal laws, state or local law.


               DESCRIPTION OF PROPERTY                                                    SPECIFY LAW                        VALUE OF      CURRENT MARKET
                                                                                         PROVIDING EACH                      CLAIMED     VALUE OF PROPERTY
                                                                                           EXEMPTION                         EXEMPTION   WITHOUT DEDUCTING
                                                                                                                                            EXEMPTION



Household Goods and Wearing Apparel    C.P.L.R. 5205                                                                        $3,500.00       $3,500.00
Citibank, N.A.                         D.C.L. 283                                                                             $210.00         $210.00
Citibank, N.A.                         D.C.L. 283                                                                             $510.00         $510.00
Deposit with landlord                  C.P.L.R. 5205                                                                          $750.00         $750.00
Retirement benefits         C.P.L.R. 5205, D.C.L. 282                                                                         unknown         unknown
1999 Mercury                           D.C.L. 282                                                                           $2,400.00       $2,400.00
1999 Ford                              D.C.L. 282                                                                           $2,400.00       $2,400.00
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In re:   Tyrone Salazar & Myrna Salazar,                          Debtor(s)   Case No.                             (if known)



                       SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                                  CO
          CREDITOR’S NAME AND      D   H      DATE CLAIM WAS INCURRED,         C
            MAILING ADDRESS        E   W        NATURE OF LIEN, AND            U    AMOUNT OF CLAIM    UNSECURED
          INCLUDING ZIP CODE       B   J      DESCRIPTION AND MARKET           D   WITHOUT DEDUCTING    PORTION
                                   T   C        VALUE OF PROPERTY                  VALUE OF SECURITY     IF ANY
                                                 SUBJECT TO LIEN




Americredit                                                                        $11,269.00
801 Cherry Street, Suite 3900
Ft. Worth, Texas 76102

lien on 1999 Mercury
value: $7,400

Americredit                                                                          $6,742.00
801 Cherry Street, Suite 3900
Ft. Worth, Texas 76102

lien on 1999 Ford
value: $4,900
                                                         TOTAL:                    $18,011.00
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In re:   Tyrone Salazar & Myrna Salazar,                                                    Debtor(s)     Case No.                                      (if known)



               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORTIY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priorty claims to report on this Schedule E.

TYPE OF PRIORTY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheet(s)

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor’s business or financial affiars after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum of $2000 per employee,
     earned within 90 days immediately preceding the filing of the original petition, or the cessation or business, whichever occured first, to the extent
     provided in 11 U.S.C. § 507(a)(3)

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occured first, to the extent propvided in 11 U.S.C. § 506(a)(4).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to a maximum of $2000 per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

     Deposits by individuals
     Claims of individuals up to a maximum of $900 for deposits for the purchase, lease, or rental of property or services for personal, family, or
     household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

     Alimony, Maintenance, or Support
     Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

                                                  CO
           CREDITOR’S NAME AND                     D   H            DATE CLAIM WAS                         C            TOTAL                 AMOUNT
            MAILING ADDRESS                        E   W      INCURRED AND CONSIDERATION                   U           AMOUNT                ENTITLED
           INCLUDING ZIP CODE                      B   J              FOR CLAIM                            D          OF CLAIM              TO PRIORITY
                                                   T   C
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In re:   Tyrone Salazar & Myrna Salazar,                                                               Debtor(s)     Case No.                       (if known)



              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORTY CLAIMS
    Check this box if debtor has no creditors holding unsecured nonpriorty claims to report on this Schedule F

                                                                    CO
             CREDITOR’S NAME AND                                    D     H        DATE CLAIM WAS INCURRED                            C         AMOUNT
               MAILING ADDRESS                                      E     W       AND CONSIDERATION FOR CLAIM,                        U         OF CLAIM
             INCLUDING ZIP CODE                                     B     J          IF CLAIM IS SUBJECT TO                           D
                                                                    T     C            SETOFF, SO STATE




  Cellular One                                                           j      07/01             telephone service                            $942.00
  P.O. Box 10852
  Newark         , NJ                             07193

  Chrysler Financial Company                                             w      12/98             car loan deficiency                        $8,863.00
  580 White Plains Road
  Tarrytown      , NY 10591

  Colorado Capital Investment                                            j      04/98             credit card                                $1,829.00
  305 N.E. Loop 820, Suite 404
  Hurst          , TX 76053

  Defense Finance and Acct. Svc. h                                              12/02             enlistment bonus                           $3,977.00
  1240 East 9th Street
  Cleveland      , OH 44199

  Department of Education                                                w      03/97             student loan                               $6,799.00
  P.O. Box 2287
  Atlanta        , GA 30370

  Department of Education                                                w      03/97             student loan                               $7,109.00
  P.O. Box 2287
  Atlanta        , GA 30370

  Discover Card                                                          w      12/99             credit card                                $6,495.09
  P.O. Box 15192
  Wilmington     , DE                             19886

  First Premier Bank                                                     j      12/02             credit card                                  $423.00
  601 S. Minnesota AVenue
  Sioux Falls    , SD 57104

  First Union National Bank                                              j      12/98   loan                                              $24,130.00
  P.O. Box 13765                                                                (same debt as Wachovia)
  Roanoke         VA 24037

  LMC Emergency Physicians PC                                            j      01/02             medical services                            $136.00
  P.O. Box 1019
  Spring Valley , NY 10977

  Macy’s                                                                 j      12/99             merchandise                                  $135.00
  P.O. Box 8066
  Mason                             , OH          45040
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In re:   Tyrone Salazar & Myrna Salazar,                                                               Debtor(s)     Case No.                       (if known)



              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORTY CLAIMS
    Check this box if debtor has no creditors holding unsecured nonpriorty claims to report on this Schedule F

                                                                    CO
             CREDITOR’S NAME AND                                    D     H        DATE CLAIM WAS INCURRED                            C         AMOUNT
               MAILING ADDRESS                                      E     W       AND CONSIDERATION FOR CLAIM,                        U         OF CLAIM
             INCLUDING ZIP CODE                                     B     J          IF CLAIM IS SUBJECT TO                           D
                                                                    T     C            SETOFF, SO STATE




  Queens Borough Public Library                                          j      10/01             book                                         $42.00
  89-11 Merrick Blvd.
  Jamaica        , NY 11432

  RMA Holdings LLC                                                       w      12/99   credit card                                          $6,495.09
  2420 Sweet Home Road, #150                                                    (same debt as Discover)
  Amherst        , NY 14228

  Total Gym, Ltd.                                                        h      10/02             membership                                 $1,263.84
  c/o BYL Agency, Ltd.
  P.O. Box 2740
  West Chester    , PA 19380

  Voicestream Wireless                                                   j      06/02             telephone services                          $398.61
  P.O. Box 742596
  Cincinnati      , OH 45274

  Wachovia Bank                                                          j        12/98           loan                                    $24,130.00
  4299 N.W. 36th Street
  Miami Springs   FL 33166

  Wachovia, c/o First USA Bank                                           j        12/98 loan                                              $24,130.00
  P.O. Box 8650                                                                   (same debt as Wachovia)
  Wilmington      DE 19899

  Wyckoff Heights Medical Ctr.                                           j      06/01             hospital services                           $323.32
  374 Stockholm Street
  Brooklyn       , NY 11237



                                                                                                                                          -----------
                                                                                                    TOTAL                                  $62,865.86
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In re:   Tyrone Salazar & Myrna Salazar,                                          Debtor(s)   Case No.                        (if known)



                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
X    Check this box if debtor has no executory contracts or unexpired leases.

                                                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
         NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
           OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
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In re:   Tyrone Salazar & Myrna Salazar,                               Debtor(s)   Case No.                       (if known)



                                                  SCHEDULE H - CODEBTORS
X    Check this box if debtor has no codebtors.

                   NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR
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In re:   Tyrone Salazar & Myrna Salazar,                                                 Debtor(s)       Case No.                                    (if known)



                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.

  Debtor’s Marital                                                  DEPENDENTS OF DEBTOR AND SPOUSE
  Status                    NAMES                                                                                     AGE          RELATIONSHIP
     Married                  Karyna                                                                                    9          daughter
                              Noah                                                                                      5          son


  Employment:                               DEBTOR                                                                      SPOUSE
  Occupation              designer                                                                   teacher
  Name of Employer        W & W Cabinets                                                             NYC Deptartment of Education
  How long employed       3 months                                                                   3 years
  Address of Employer     58-22 Maspeth Avenue
                          Maspeth, New York                                                          New York, New York


Income: (Esitimate of average monthly income)

Current monthly gross wages, salary, and commissions (pro rate if not paid monthly.)                 $    2,575               $     3,200
Estimate monthly overtime
SUBTOTAL                                                                                             $    2,575               $     3,200
   LESS PAYROLL DEDUCTIONS
   a. Payroll taxes and social security                                                                       525                       890
   b. Insurance
   c. Union dues
   d. Other (Specify)




  SUBTOTAL OF PAYROLL DEDUCTIONS                                                                     $      525               $       890
TOTAL NET MONTHLY TAKE HOME PAY                                                                      $    2,050               $     2,310

Regular income from operation of business or profession or farm
(attach detailed statement)
Income from real property
Interest and dividends
Alimony, maintenance or support payments payable to the debtor for the debtor’s
    use or that of dependents listed above.
Social security or other government assistance (Specify)



Pension or retirement income
Other monthly income (Specify)




TOTAL MONTHLY INCOME                                                                                 $    2,050               $     2,310

TOTAL COMBINED MONTHLY INCOME                  $     4,360                                           (Report also on Summary of Schedules)


Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
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In re:     Tyrone Salazar & Myrna Salazar,                                                                                                  Debtor(s)             Case No.                                                  (if known)



                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
  Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly,
semi-annually, or annually to show monthly rate.

     Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
     labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home) .................................................................................................$                                      810.00
Are real estate taxes included?                    Yes          X No                    Is property insurance included?                                Yes          X No
Utilities Electricity and heating fuel ...........................................................................................................................................................          95.00
          Water and sewer.............................................................................................................................................................................
          Telephone ...................................................................................................................................................................................... 110.00
          Other



Home maintenance (repairs and upkeep) .................................................................................................................................................                                 40.00
Food .............................................................................................................................................................................................................     925.00
Clothing        .................................................................................................................................................................................................      150.00
Laundry and dry cleaning ..........................................................................................................................................................................                     45.00
Medical and dental expenses .....................................................................................................................................................................                      100.00
Transportation (not including car payments)..............................................................................................................................................                              195.00
Recreation, clubs and entertainment, newspapers, magazines, etc.........................................................................................................                                                85.00
Charitable contributions ..............................................................................................................................................................................
Insurance (not deducted from wages or included in home mortgage payments)
      Homeowner’s or renter’s ...................................................................................................................................................................
      Life ......................................................................................................................................................................................................
      Health ................................................................................................................................................................................................
      Auto ...................................................................................................................................................................................................         333.00
      Other



Taxes (not deducted from wages or included in home mortgage payments)                                                                                                                                                  100.00
(Specify)


Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in plan)
       Auto ...................................................................................................................................................................................................       552.00
       Other       Student loans                                                                                                                                                                                      200.00


Alimony, maintenance, and support paid to others .................................................................................................................................
Payments for support of additional dependents not living at your home ..............................................................................................
Regular expenses from operation of business, profession, or farm (attach detailed statement) ..........................................................
Other    Education expense                                                                                                                                                                                            460.00
               Child care expense                                                                                                                                                                                     433.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)...............................................................................................$                                                         4,633.00

(FOR CHAPTER 12 AND 13 DEBTORS ONLY)
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular interval.


A. Total projected monthly income ...........................................................................................................................................................$
B. Total projection monthly expenses .......................................................................................................................................................
C. Excess income (A minus B) ..................................................................................................................................................................$


D. Total amount to be paid into plan each ...............................................................................................................................................$
                                                      (interval)
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In re:   Tyrone Salazar & Myrna Salazar,                                                 Debtor(s)     Case No.                                      (if known)




                             DECLARATION CONCERNING DEBTOR’S SCHEDULES



                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR



          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 12 sheets, and that they are true and correct

to the best of my knowledge, information, and belief.




Date     January 19, 2004                                                                         /s/ Tyrone Salazar
                                                                                    Signature:_______________________________________________________
                                                                                                                        Debtor




Date     January 19, 2004                                                                        /s/ Myrna Salazar
                                                                                    Signature:_______________________________________________________
                                                                                                                (Joint Debtor, if any)

                                                                                    (If joint case, both spouses must sign.)




 Penalty for making a false satement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years of both. 18 U.S.C. §§ 152 and 3571.
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UNITED STATES BANKRUPTCY COURT                                                     EASTERN DISTRICT OF NEW YORK

In re:    Tyrone Salazar & Myrna Salazar,                                                  Debtor(s)            Case No.
                                                                                                                Chapter    7

                                    CHAPTER 7 INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

   1. I, the debtor, have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
   2. My intention with respect to he property of the estate which secures those consumer debts is as follows:
         a. Property to Be Surrendered.

                      Description of property                                                          Creditor’s name                                H, W or J



              None




         b. Property to Be Retained (Specify Reaffirmed, Redeemed or Exempt to state debtor’s
            intention concerning reaffirmation, redemption, or lien avoidance.*)
                                                                                                                                                      Reaffirmed
                                                                                                                                                      Redeemed
                      Description of property                                                          Creditor’s name                                Exempt



              1999 Mercury                                                            Americredit Financial                                         Reaffirm
              1999 Ford                                                               Americredit Financial                                         Reaffirm




    3. I understand that § 521(2)(B) of the Bankruptcy Code requires that I perform the above stated intention within 45 days of the filing of this statement with
the court, or within such additional time as the court, for cause, within such 45-day period fixes.



Date:     January 19, 2004

* Reaffirmed - Debt will be reaffirmed pursuant to § 524(c)                            /s/ Tyrone Salazar & Myrna Salazar
                                                                                      _______________________________________________________________
 Redeemed - Property is claimed as exempt and will be redeemed                                           Signature of Debtor
            pursuant to § 722
 Exempt      - Lien will be avoided pursuant to § 522(f) and property will
               be claimed as exempt                                                   _______________________________________________________________
                                                                                                         Signature of Debtor
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UNITED STATES BANKRUPTCY COURT                                       EASTERN DISTRICT OF NEW YORK



In re:      Tyrone Salazar & Myrna Salazar                                                                    Debtor(s)                  Case No.

                                                                                                         STATEMENT OF FINANCIAL AFFAIRS

            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses is combined.
If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should provide
the information requested on this statement concerning all such activities as well as the individual’s personal affairs.
            Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25. Each question
must be answered. If the answer to any question is "None," or the questions is not applicable, mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.
DEFINITIONS
             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business" for the
purpose of this form if the debtor is or has been, within the two years immediately preceding the filing of this bankruptcy case, any of the following: an officer, director,
managing executive, or person in control of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed.
             "Insider." The terms "insider includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of which the debtor
is an officer, director, or person in control; officers, directors, and any person in control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such
affiliates; any managing agent of the debtor. 11 U.S.C. §101(30).

         None   1. Income from Employment or Operation of Business
State the gross amount of income the debtor has received from
employment, trade, or profession, or from operation of the debtor’s
business from the beginning of this calendar year to the date this case
                                                                               2004 - $ 1,200                                 $ 1,600
was commenced. State also the gross amounts received during the two            2003 - $52,000                                 $38,400
years immediately preceding this calendar year. (A debtor that                 2002 - $58,092                                 $38,000
maintains, or has maintained, financial records on the basis of a fiscal
rather than a calendar year may report fiscal year income. Identify the
beginning and ending dates of the debtor’s fiscal year.) If a joint
petition is filed, state income for each spouse separately. (Married
debtors filing under chapter 12 or chapter 13 must state income of both
spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)
Give AMOUNT and SOURCE (If more than one).

X   None 2. Income Other than from Employment or Operation
of Business
State the amount if income received by the debtor other than from
employment, trade, profession, or operation of the debtor’s business
during the two years immediately preceding the commencement of this
case. Give particulars. If a joint petition is filed, state income for each
spouse separately. (Married debtors filing under chapter 12 or chapter
13 must state income for each spouse whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)
Give AMOUNT and SOURCE.

3. Payments to Creditors
X None a. List all payments on loans, installment purchases of
goods or services, and other debts, aggregating more than $600 to any
creditor, made within 90 days immediately preceding the commence-
ment of this case. (Married debtors filing under chapter 12 or chapter
13 must include payments by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)
Give NAME AND ADDRESS OF CREDITOR, DATES OF PAYMENTS, AMOUNT PAID
and AMOUNT STILL OWING.

X    None b. List all payments made within one year immediately
preceding the commencement of this case to or for the benefit of
creditors who are or were insiders. (Married debtors filing under chapter
12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)
Give NAME AND ADDRESS OF CREDITOR AND RELATIONSHIP TO DEBTOR, DATES
OF PAYMENT, AMOUNT PAID and AMOUNT STILL OWING.

4. Suits, Executions, Garnishments and Attachments
     None a. List all suits to which the debtor is or was a party within       First Union National v. Tyrone Salazar, NYC
one year immediately preceding the filing of this bankruptcy case.
(Married debtors filing under chapter 12 or chapter 13 must include
                                                                               Civil Court, Bronx County
information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is
not filed.)
Give CAPTION OF SUIT AND CASE NUMBER, NATURE OF PROCEEDING, COURT
AND LOCATION and STATUS OR DISPOSITION.
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X    None b. Describe all property that has been attached, garnished,
or seized under any legal or equitable process within one year immedi-
ately preceding the filing of this bankruptcy case. (Married debtors
filing under chapter 12 or chapter 13 must include information
concerning property of either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is
not filed.)
Give NAME AND ADDRESS OF PERSON FOR WHOSE BENEFIT PROPERTY WAS
SEIZED, DATE OF SEIZURE and DESCRIPTION AND VALUE OF PROPERTY.

X None 5. Repossessions, Foreclosures, and Returns
List all property that has been repossessed by a creditor, sold at a
foreclosure sale, transferred through a deed in lieu of foreclosure or
returned to the seller, within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include information concerning property of either or
both spouses whether or not a joint petition is filed, unless the spouses
are separated and a joint petition is not filed.)
Give NAME AND ADDRESS OF CREDITOR OR SELLER, DATE OF REPOSSESSION,
FORECLOSURE SALE, TRANSFEROR RETURN and DESCRIPTION AND VALUE OF
PROPERTY.

6. Assignments and Receiverships
X None a. Describe any assignment of property for the benefit of
creditors made within 120 days immediately preceding the commence-
ment of this case. (Married debtors filing under chapter 12 or chapter
13 must include any assignment by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)
Give NAME AND ADDRESS OF ASSIGNEE, DATE OF ASSIGNMENT and TERMS OF
ASSIGNMENT OR SETTLEMENT.

X None b. List all property which has been in the hands of a
custodian, receiver, or court-appointed official within one year immedi-
ately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)
Give NAME AND ADDRESS OF CUSTODIAN, NAME AND LOCATION OF COURT,
CASE TITLE & NUMBER, DATE OF ORDER and DESCRIPTION AND VALUE OF
PROPERTY.

X None 7. Gifts
List all gifts or charitable contributions made within one year immedi-
ately preceding the commencement of this case except ordinary and
usual gifts to family members aggregating less than $200 in value per
individual family member and charitable contributions aggregating less
than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)
Give NAME AND ADDRESS OF PERSON OR ORGANIZATION, RELATIONSHIP TO
DEBTOR, IF ANY, DATE OF GIFT, and DESCRIPTION AND VALUE OF GIFT.

X None 8. Losses
List all losses from fire, theft, other casualty or gambling within one
year immediately preceding the commencement of this case or since
the commencement of this case. (Married debtors filing under chapter
12 or chapter 13 must include losses by either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)
Give DESCRIPTION AND VALUE OF PROPERTY, DESCRIPTION OF CIRCUMSTANCES
AND, IF LOSS WAS COVERED IN WHOLE OR IN PART BY INSURANCE, GIVE
PARTICULARS and DATE OF LOSS.

     None 9. Payments Related to Debt Counseling or Bankruptcy                Paid Allan R. Bloomfield, 118-21 Queens
List all payments made or property transferred by or on behalf of the
debtor to any persons, including attorneys, for consultation concerning
                                                                              Blvd., Forest Hills, N.Y. $400.00 for ser-
debt consolidation, relief under the bankruptcy law or preparation of a       vices in connection with these proceedings.
petition in bankruptcy within one year immediately preceding the
commencement of this case.
Give NAME AND ADDRESS OF PAYEE, DATE OF PAYMENT, NAME OF PAYOR IF
OTHER THAN DEBTOR and AMOUNT OF MONEY OR DESCRIPTION AND VALUE OF
PROPERTY.
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X    None 10. Other Transfers
List all other property, other than property transferred in the ordinary
course of the business or financial affairs of the debtor, transferred
either absolutely or as security within one year immediately preceding
the commencement of this case. (Married debtors filing under chapter
12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)
Give NAME AND ADDRESS OF TRANSFEREE, RELATIONSHIP TO DEBTOR, DATE,
and DESCRIBE PROPERTY TRANSFERRED AND VALUE RECEIVED.

X    None 11. Closed Financial Accounts
List all financial accounts and instruments held in the name of the
debtor or for the benefit of the debtor which where closed, sold, or
otherwise transferred within one year immediately preceding the
commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares
and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning accounts or instruments held by or for
either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)
Give NAME AND ADDRESS OF INSTITUTION, TYPE AND NUMBER OF ACCOUNT
AND AMOUNT OF FINAL BALANCE and AMOUNT AND DATE OF SALE OR
CLOSING.

X    None 12. Safe Deposit Boxes
List each safe deposit or other box or depository in which the debtor
has or had securities, cash, or other valuables within one year immedi-
ately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include boxes or depositories of
either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)
Give NAME AND ADDRESS OF BANK OR OTHER DEPOSITORY, NAMES AND
ADDRESSES OF THOSE WITH ACCESS TO BOX OR DEPOSITORY, DESCRIPTION OF
CONTENTS and DATE OF TRANSFER OR SURRENDER, IF ANY.

X    None 13. Setoffs
List all setoffs made by any creditor, including a bank, against a debt
or deposit of the debtor within 90 days preceding the commencement
of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)
Give NAME AND ADDRESS OF CREDITOR, DATE OF SETOFF and AMOUNT OF
SETOFF.

X    None 14. Property Held for Another Person
List all property owned by another person that the debtor holds or
controls.
Give NAME AND ADDRESS OF OWNER, DESCRIPTION AND VALUE OF PROPERTY
and LOCATION OF PROPERTY.

X    None 15. Prior Address of Debtor
If the debtor has moved within the two years immediately preceding
the commencement of this case, list all premises which the debtor
occupied during that period and vacated prior to the commencement of
this case. If a joint petition is filed, report also any separate address of
either spouse.
Give ADDRESS, NAME USED and DATES OF OCCUPANCY.

X    None 16. Spouses and Former Spouses
If the debtor resides or resided in a community property state, common-
wealth, or territory (including Alaska, Arizona, California, Idaho,
Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the six-year period immediately preceding the
commencement of the case, identify the name of the debtor’s spouse
and of any former spouse who resides or resided with the debtor in the
community property state.
Give NAME.
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X    None 17. Environmental Information
for the purpose of this questions, the following definitions apply:
"Environmental Law" means any federal, state, or local statute or
regulation regulating pollution, contamination, releases of hazardous or
toxic substances, wastes or material into the air, land, soil, surface
water, groundwater, or other medium, including, but not limited to,
statutes or regulations regulating the cleanup of these substances,
wastes, or material.
"Site" means any location, facility, or property as defined under any
Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites.
"Hazardous Material" means anything defined as a hazardous waste,
hazardous substance, toxic substance, hazardous material, pollutant, or
contaminant or similar term under an Environmental Law
X    None a. List the name and address of every site for which the
debtor has received notice in writing by a governmental unit that it may
be liable or potentially liable under or in violation of an Environmental
Law. Indicate the governmental unit, the date of the notice, and, if
known, the Environmental Law:
Give SITE NAME AND ADDRESS, NAME AND ADDRESS OF GOVERNMENTAL UNIT,
DATE OF NOTICE and ENVIRONMENTAL LAW

X    None b. List the name and address of every site for which the
debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the
notice was sent and the date of the notice.
Give SITE NAME AND ADDRESS, NAME AND ADDRESS OF GOVERNMENTAL UNIT,
DATE OF NOTICE and ENVIRONMENTAL LAW

X None c. List all judicial or administrative proceedings, including
settlements or orders, under any Environmental Law with respect to
which the debtor is or was a party. Indicate the name and address of the
governmental unit that is or
was a party to the proceeding, and the docket number.
Give NAME AND ADDRESS OF GOVERNMENTAL UNIT, DOCKET NUMBER and
STATUS OR DISPOSITION




                                                        Unsworn Declaration under Penalty of Perjury.
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.

                                    Jan 19, 2004
                             Date ________________________________                      /s/ Tyrone Salazar
                                                                   Signature of Debtor _______________________________________________________________




                                    Jan 19, 2004
                             Date ________________________________                                     /s/ Myrna Salazar
                                                                   Signature of Joint Debtor (if any) ___________________________________________________


                                                                     _________ continuation sheets attached

                Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§152 and 3571.
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UNITED STATES BANKRUPTCY COURT FOR THE
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------------------x

In re:                                                                                                         STATEMENT
                                                                                                         PURSUANT TO RULE 2016(b)
                 Tyrone Salazar,
                 Myrna Salazar,
                                                                                                          Case No.
                                                                      Debtor.

--------------------------------------------------------------------------------------x

     The undersigned, pursuant to Rule 2016(b) of the Bankruptcy Rules, states that:

     (1) The undersigned is the attorney for the debtor(s) in this case.

     (2) The compensation paid or agreed to be paid by the debtor(s) to the undersigned is:
         (a) for legal services rendered or to be rendered in contemplation of and in connection
             with this case:                                                                                                   $ 400.00
         (b) prior to filing this statement, debtor(s) have paid                                                               $ 400.00
         (c) the unpaid balance due and payable is                                                                             $ -0-

     (3) $    all of the filing fee in this case has been paid.

     (4) The services rendered or to be rendered include the following:
         (a) analysis of the financial situation, and rendering advice and assistance to the debor(s) in determining whether to file
             a petition under title 11 of the United States Code.
         (b) preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
         (c) representation of the debtor(s) at the meeting of creditors.



     (5) The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for services
         performed.



     (6) The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will be
         from earnings, wages and compensation for services performed.



     (7) The undersigned has received no transfer, assignment or pledge of property except the follwing for the value stated: none.



     (8) The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned’s law
         firm any compensation paid or to be paid.



Dated: January 19, 2004                                          /s/ Allan R. Bloomfield
                                    Respectfully submitted, ________________________________________________ Attorney for Petitioner(s)




Attorney’s name and address         Allan R. Bloomfield, 118-21 Queens Blvd., Suite 509, Forest Hills, N.Y. 11375
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UNITED STATES BANKRUPTCY COURT FOR THE
EASTERN DISTRICT OF NEW YORK
---------------------------------------x

In re:                                                   STATEMENT PURSUANT
                                                        TO LOCAL RULE 2017-1
   Tyrone Salazar,
   Myrna Salazar,
                                                    Case No.
                              Debtor.

---------------------------------------x

     ALLAN R. BLOOMFIELD, an attorney duly admitted to practice in
this Court, states:

     1.   That I am the attorney for the above named debtor.

     2.   That prior to the filing of the petition herein, I
rendered the following services to the above named debtor:

            DATE           SERVICE                                 TIME

April 21, 2003        Interview with client                        1.7 hours
                      analysis of financial
                      condition, etc.
January 16, 2004      Preparation of papers                        0.8 hour
January 19, 2004      Interview with client,                       0.2 hour
                      execution of papers
February 24, 2004     Filing of papers                             0.7 hours


     3. That I will also represent the debtor at the first meeting
of creditors.

     4.   That all services rendered prior to the filing of the
petition herein were rendered personally by me.

     5. That my usual rate of compensation on bankruptcy matters
of this type is $250.00 per hour.

Dated:    Forest Hills, New York
          February 24, 2004
                                           /s/ Allan R. Bloomfield
                                          _____________________________
                                          Allan R. Bloomfield
                                          Attorney for Debtor
    Case 1-04-12681-ess   Doc 1   Filed 02/25/04   Entered 02/25/04 22:25:50




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                        CHAPTER 7
                                                          VOLUNTARY PETITION
     Tyrone Salazar,
     Myrna Salazar,

                                      Debtor.

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                   VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list
of creditors is true and correct to the best of his/her knowledge.


Date:    January 19, 2004
                                           /s/ Tyrone Salazar
                                          ______________________________
                                           Debtor

                                           /s/ Myrna Salazar
                                          ______________________________
                                           Debtor
